




NO. 07-07-0177-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



JUNE 25, 2007

______________________________



GUADALUPE ROSALES, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE 331
ST
 DISTRICT COURT OF TRAVIS COUNTY;



NO. D-1-DC-06-500380; HONORABLE BOB PERKINS, JUDGE

_______________________________





Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

ON ABATEMENT AND REMAND

Appellant Guadalupe Rosales has given notice of appeal from a judgment of conviction and sentence for sexual assault. &nbsp;The appellate court clerk received and filed the trial court clerk’s record on April 16, 2007. &nbsp;The trial court reporter’s record was filed on March 21, 2007. 

Appellant’s brief was due on May 16, 2007. &nbsp;By our letter dated May 24, 2007, appellant was notified that the brief was due and that the appeal would be abated if the brief or an appropriate response was not received by June 4, 2007. &nbsp;&nbsp;No brief or other response has been received from appellant. &nbsp;

Accordingly, this appeal is abated and the cause is remanded to the trial court. &nbsp;
Tex. R. App. P. 
38.8(b)(2). &nbsp;Upon remand, the judge of the trial court is directed to immediately cause notice to be given of and to conduct a hearing to determine: 

(1) 	whether appellant desires to prosecute this appeal; 


if appellant desires to prosecute this appeal, then whether appellant is indigent, and if not indigent, whether counsel for appellant has abandoned the appeal; 

if appellant desires to prosecute this appeal, whether appellant’s present counsel should be replaced; and

what orders, if any, should be entered to assure the filing of appropriate notices and documentation to dismiss appellant’s appeal if appellant does not desire to prosecute this appeal, or, if appellant desires to prosecute this appeal, to assure that the appeal will be diligently pursued.




If the trial court determines that the present attorney for appellant should be replaced, the court should cause the clerk of this court to be furnished the name, address, and State Bar of Texas identification number of the newly-appointed or newly-retained attorney. &nbsp;

In support of its determination, the trial court shall prepare and file written findings of fact and conclusions of law and cause them to be included in a supplemental clerk’s record. &nbsp;The hearing proceedings shall be transcribed and included in a supplemental reporter’s record. &nbsp;Those supplemental records shall be submitted to the clerk of this court no later than July 25, 2007.



Per Curiam









Do not publish. &nbsp;








